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                           IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                                                 § CASE NUMBER 6:13-CR-00114-RC
v.                                               §
                                                 §
                                                 §
AMOS EDWARD SIMMONS (14)                         §
                                                 §



             ORDER ADOPTING REPORT AND RECOMMENDATION OF
                    UNITED STATES MAGISTRATE JUDGE

       The above entitled and numbered criminal action was referred to United States

Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

Judge John D. Love which contains his proposed findings of fact and recommendations for the

disposition of such action has been presented for consideration. The parties have waived their

objections to the Report and Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

the findings and conclusions of this Court and ORDERS that Defendant Amos Edward

Simmons be committed to the custody of the Bureau of Prisons for a term of imprisonment of 8

months with no supervised release to follow. The Court RECOMMENDS that the place of

confinement be Texarkana in order to facilitate family visitation and that Defendant participate

in any available drug treatment while incarcerated.


             So Ordered and Signed
             Jul 6, 2017
